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10   Attorneys for Defendant
11   COLIN LIANG

12
                                     UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14

15                                        SAN FRANCISCO DIVISION

16   UNITED STATES OF AMERICA,                       )   No. CR-20-321-EMC
                                                     )
17          Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER TO
                                                     )   DEPOSIT FUNDS INTO THE COURT’S
18     v.                                            )   REGISTRY
                                                     )
19   YONG HENG LIANG, a/k/a COLIN LIANG              )
                                                     )
20          Defendant.                               )
                                                     )
21

22

23           Plaintiff United States of America and Defendant Yong Heng Liang, a/k/a Colin Liang

24   (“Defendant”), by and through their respective counsel, hereby stipulate and agree as follows:

25           1.     Defendant is indebted to the United States in the amount of $536,899 for false claims

26   pursuant to a plea agreement filed with the court on May 26, 2021, in the United States District Court

27   for the Northern District of California in the above-captioned mater. See Dkt No. 64.

28           2.     Defendant has provided funds in the amount of $536,899 to defense counsel for the

     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                                   1
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 1   purpose of satisfaction of his restitution obligation to the United States. Defendant and defense counsel

 2   would like to deposit these funds into the court’s registry prior to sentencing.

 3          3.     The parties agree and stipulate that the proposed order is appropriate in that it will allow

 4   for deposit of restitution funds in the court’s registry prior to sentencing.

 5

 6          IT IS SO STIPULATED.

 7                                                                 Respectfully submitted,

 8 DATED: March 3, 2022                                            /s/
                                                                   NAOMI CHUNG
 9
                                                                   BRENDAN HICKEY
10                                                                 Counsel for Colin Liang

11
     DATED: March 3, 2022                                          /s/
12                                                                 COLIN SAMPSON
                                                                   Assistant United States Attorney
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     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                                     2
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 1                                          [PROPOSED] ORDER

 2       The Court, having considered the Stipulation Regarding Payment of Criminal Monetary Penalties,

 3   the Stipulation having been executed by the United States and defendant’s counsel, and good cause

 4   appearing, hereby ORDERS as follows:

 5       1.        The Stipulation is APPROVED; and

 6       2.        The Clerk of the Court for the Northern District of California shall accept from the

 7   defendant either a check, cashier’s check, money order or a wire transfer in the amount of $536,899.

 8   Any check or money order shall be made payable to “United States District Court.” Any wire transfer

 9   shall be conducted pursuant to any instructions provided by the Clerk of Court to the parties.

10       3.        The Clerk of Court shall hold such funds in the Clerk’s Registry, including interest

11 earned thereon, pending the further order of this Court.

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13            IT IS SO ORDERED.

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16 DATED:
                                                                HON. EDWARD M. CHEN
17                                                              UNITED STATES DISTRICT JUDGE
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     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                                  3
